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                                       UNITED STATES DISTRICT COURT

                                              DISTRICT OF OREGON

                                              PORTLAND DIVISION

           PLUMBERS LOCAL NO. 137 PENSION         )                        Case No. 3:11-cv-00633-AC
           FUND and LABORERS’ LOCAL #231          )
           PENSION FUND, Derivatively on Behalf of)           PLAINTIFFS’ MEMORANDUM OF LAW
           UMPQUA HOLDINGS CORPORATION,           )              IN OPPOSITION TO DEFENDANTS’
                                                  )                          MOTION TO DISMISS
                                   Plaintiffs,
                                                  )
                 vs.                              )                         Request for Oral Argument
                                                  )
           RAYMOND P. DAVIS, et al.,              )
                                   Defendants,    )
                                                  )
                 – and –                          )
                                                  )
           UMPQUA HOLDINGS CORPORATION, an
                                                  )
           Oregon corporation,
                                                  )
                                   Nominal Party. )
                                                  )
                                                  )




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                  Plaintiffs Plumbers Local No. 137 Pension Fund and Laborers’ Local #231 Pension Fund

           (collectively, “plaintiffs”) submit this Memorandum of Law in Opposition to the Individual

           Defendants’ Memorandum of Law in Support of Their Motion to Dismiss (“Motion” or “Defs.’

           Mot.”) (Dkt. No. 22).1

           I.     INTRODUCTION AND OVERVIEW

                  The question at the center of this case is simple and straightforward. Does a shareholder vote

           matter? The answer – equally uncomplicated – is an unequivocal “yes.”

                  On April 19, 2011, pursuant to the “say-on-pay” vote authorized by the recently enacted

           Dodd-Frank Wall Street Reform and Consumer Protection Act (“Dodd-Frank”), over 61% of

           Umpqua’s voting shareholders (many of whom are sophisticated institutional investors holdings tens

           of millions of shares of Umpqua stock) voted against the 2010 executive compensation packages

           approved by the Umpqua Board of Directors (“Umpqua Board” or “Board”).2 This resounding “no”

           reflects the belief by a majority of Umpqua’s voting shareholders, after utilizing their own

           independent business judgment, that the 2010 Chief Executive Officer (“CEO”) and top executive

           pay hikes did not serve their best interests as shareholder owners. Thus, the April 2011 shareholder

           vote is – from a factual perspective – compelling evidence that the Umpqua Board’s decision to



           1
                  Because Umpqua Holdings Corporation (“Umpqua” or the “Company”) joins the Individual
           Defendants’ Motion in full (Dkt. No. 25), all arguments made herein apply to both motions to
           dismiss.
           2
                   Shareholders also demonstrated their distrust of the Umpqua Board by voting to have this
           “say-on-pay” vote every year – even though under Dodd-Frank, for a public corporation, the
           requirement is only once every three years – with a stunning 82% majority of voting Umpqua’s
           shareholders. Declaration of Travis Downs III in Support of Plaintiffs’ Memorandum of Law in
           Opposition to Defendants’ Motion to Dismiss (“Downs Decl.”), Ex. A; see also 15 U.S.C. §78n-
           1(a)(1).


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           grant 61% to 161% raises to top executives despite a -7.7% shareholder return, in addition to a 10%

           decline in Umpqua’s stock price, was not in the best interests of the Company or its shareholders.

                  Normally, a board of directors is protected by the “business judgment rule” when making

           decisions about executive compensation. The “business judgment rule” is a rebuttable presumption

           that “‘in making a business decision the directors of a corporation acted on an informed basis, in

           good faith and in the honest belief that the action taken was in the best interests of the company.’”

           Crandon Capital Partners v. Shelk, 219 Or. App. 16, 31, 181 P.3d 773, 783 (2008) (quoting Aronson

           v. Lewis, 473 A.2d 805, 812 (Del. 1984)). But a plaintiff may rebut the “business judgment rule” by

           presenting factual evidence that board members acted disloyally, i.e., not in the best interests of the

           company or its shareholders. Crandon, 219 Or. App. at 31; In re Walt Disney Co. Derivative Litig.,

           906 A.2d 27, 53 (Del. 2006). Once rebutted, the burden shifts to defendants to demonstrate that the

           excessive 2010 compensation was entirely fair. Crandon, 219 Or. App. at 33; Walt Disney, 906

           A.2d at 53.

                  The April 2011 shareholder vote – in which 61% of Umpqua shareholders (including 13 of

           the Company’s 20 largest investors)3 rejected the Board’s executive compensation increases – is

           powerful evidence that the Umpqua Board did not act in the best interests of the Company’s

           shareholders because the pay raises contradicted Umpqua’s representation that executive

           compensation would be aligned with maximizing shareholder value. Thus, whatever protection from

           liability the business judgment rule could have offered the Umpqua Board prior to April 19, 2011,

           evaporated once the results of the say-on-pay vote were revealed. See Dodd-Frank, S. Rpt. No. 111-

           176, at 231 (2010) (“shareowner votes on pay would serve as a direct referendum on the decisions of


           3
                  See Downs Decl., Ex. D.


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           the compensation committee and would offer a more targeted way to signal shareowner discontent

           than withholding votes from committee members”).

                  Although to date, the Umpqua Board has neither rescinded the excessive 2010 executive

           compensation nor publicly indicated any intention to do so, Umpqua recently announced that its

           2010 executive compensation was not closely linked with maximizing shareholder value. As further

           evidence of the Board’s breach of its fiduciary duty to the Umpqua shareholders, in a filing with the

           Securities and Exchange Commission (“SEC”) on June 20, 2011, the Umpqua Board stated that the

           ratification of the 2010 executive compensation plan was an unreasonable departure from their own

           guidelines, stating:

                  Effective June 17, 2011, with the full support of President and CEO Ray Davis and
                  the Company’s other executive officers, our Compensation Committee modified
                  these RSA and option grants, as follows:

                  •       Adding performance vesting conditions linked to our total shareholder return,
                          compared to the return of the KRXTR, a KBW regional bank stock total
                          return index;

                  •       The awards will cliff vest after three years instead of time vest over a four
                          year period, but only to the extent that the performance conditions are met;
                          and

                  •       The modified grants will vest in whole or in part only if our total shareholder
                          return achieves specified targets, subject to prorated vesting upon death,
                          disability, qualifying retirement, termination for good reason or a change of
                          control.

           Downs Decl., Ex. B. These declarations against interest by party opponents and subsequent

           remedial measures further support plaintiffs’ allegation that the Umpqua Board’s 2010 pay hikes

           were not pay-for-performance but rather pay-for-underperformance.4



           4
                  See, e.g., Levine v. Diamanthuset, Inc., 950 F.2d 1478, 1486 n.8 (9th Cir. 1991) (stating that
           an “admission against interest” can bolster allegations that defendants’ statements were false and

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                  Especially in light of this evidence, the issue of whether the 2010 CEO and other top

           executive compensation is in the best interest of Umpqua shareholders cannot be reasonably

           disputed. Thus, as a result of the Umpqua Board’s decision to award massive executive pay raises,

           despite the utter failure to perform for Umpqua shareholders in 2010, plaintiffs brought this

           shareholder derivative suit on behalf of nominal party Umpqua, alleging: (1) breach of fiduciary duty

           by the Umpqua Board;5 and (2) unjust enrichment by the Company’s top executives.6

                  Defendants’ only response is to claim that plaintiffs should have made a pre-suit demand

           upon the Board and, in any event, the shareholder vote is meaningless because it is non-binding.

           They are wrong. First, a pre-suit demand is not required where the entire Board faces a substantial

           likelihood of liability for acting disloyally to the Company and its shareholders by granting

           excessive executive compensation in 2010 that was not, under any definition, pay-for-performance.

           Plaintiffs’ well-pled and particularized allegations detail just such a breach of fiduciary duty by

           defendants here.

                  Second, neither Oregon, Delaware nor the United States Congress mandate (let alone

           suggest) that a court wholly disregard the outcome of a shareholder vote as meaningless – even if the



           misleading); In re Atlas Air Worldwide Holdings, Inc. Sec. Litig., 324 F. Supp. 2d 474, 486
           (S.D.N.Y. 2004) (“Although a restatement is not an admission of wrongdoing, the mere fact that
           financial results were restated is sufficient basis for pleading that those statements were false when
           made.”).
           5
                   The individual director defendants are Raymond P. Davis (“Davis”), Allyn C. Ford, Peggy Y.
           Fowler, Stephen M. Gambee, Jose R. Hermocillo, William A. Lansing, Luis F. Machuca, Diane D.
           Miller, Hilliard C. Terry III, Bryan L. Timm and Frank R.J. Whittaker.
           6
                  Davis (Umpqua’s CEO), Bradley F. Copeland (“Copeland”) (Umpqua’s Chief Operating
           Officer or “COO”), Ronald L. Farnsworth (“Farnsworth”) (Umpqua’s Chief Financial Officer or
           “CFO”) and Mark P. Wardlow (“Wardlow”) (Umpqua’s Executive Vice President and Senior Credit
           Officer) (collectively, “Executive Defendants”).


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           vote is an advisory one. See Mainiero v. Microbyx Corp., No. 14228-NC, 1996 Del. Ch. LEXIS

           107, at *7-*8 (Del. Ch. Aug. 15, 1996) (“Delaware Courts support the enfranchisement of

           Delaware’s corporations’ shareholders. The importance of allowing shareholders to vote at an

           annual meeting is critical to effective corporate governance.”).7 Nor did Dodd-Frank change the

           court’s duty to accept as true all of the allegations contained in the complaint and draw all reasonable

           inferences in favor of the nonmoving party when assessing a motion to dismiss. Tellabs, Inc. v.

           Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007); Wilke v. City of Burns, No. 04-929-MO,

           2004 U.S. Dist. LEXIS 21468, at *2 (D. Or. Oct. 15, 2004), aff’d, No. 05-36111, 2006 U.S. App.

           LEXIS 30672 (9th Cir. Dec. 12, 2006). Thus, with the 2010 enactment of the Dodd-Frank’s say-on-

           pay provision, courts are now much better positioned to evaluate, with indisputable evidence, if a

           corporation’s board of directors acted in the best interests of the true owners of the company, the

           shareholders. Id. And, because the Verified Shareholder Derivative Complaint for Breach of

           Fiduciary Duty of Loyalty, Aiding and Abetting, Breach of Contract and Unjust Enrichment (the

           “Complaint”) demonstrates that defendants did not do that here, their Motion should be denied.

           II.    FACTUAL BACKGROUND

                  The largely admitted and otherwise uncontestable underlying facts to the Complaint’s

           allegations include the following:

                  1.      Umpqua is an Oregon corporation and therefore its internal affairs, including whether

           the Umpqua Board acted in the best interests of shareholders when increasing CEO and top




           7
                  All emphasis is added and all citations are omitted unless otherwise noted.


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           executive pay in 2010, despite the fact that in 2010 Umpqua’s stock price declined by nearly 10%

           and its shareholders endured a negative 7.7% annual return, are governed by Oregon law;8

                  2.      The Umpqua Board voluntarily adopted pay-for-performance for its executive

           compensation philosophy, and represented to Umpqua shareholders that its executive compensation

           system is designed to link executive pay with corporate performance by rewarding executives for

           superior performance and having consequences for underperformance;

                  3.      Umpqua’s shareholder base consists primarily of sophisticated institutional investors,

           such as BlackRock Inc., the California Public Employees’ Retirement System and Atlanta Capital

           Management Company, LLC, that not only own millions of Umpqua’s shares worth tens of millions

           of dollars, but who combined, oversee and manage almost $4 trillion in assets. See Downs Decl.,

           Ex. C. These types of sophisticated institutional investors clearly have the experience and resources

           to independently evaluate whether executive compensation is in their best interests as shareholder-

           owners of Umpqua;

                  4.      Umpqua’s institutional shareholders have financial interests in Umpqua that typically

           are significantly larger than the individual and/or collective financial interests of the Umpqua Board

           and/or its corporate managers;9




           8
                   To the extent Oregon law is undeveloped in an area of shareholder derivative litigation,
           courts often turn to Delaware common law. Sommers v. Lewis, No. CV 07-1142-MO, 2009 U.S.
           Dist. LEXIS 29776, at *8 (D. Or. Apr. 8, 2009).
           9
                    See id.; see also Downs Decl., Ex. D (Wall Street Journal article noting that Umpqua’s
           institutional investors held approximately 70% of the voting shares).


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                  5.     In connection with Umpqua’s “say-on-pay” advisory vote, the Umpqua Board

           unanimously recommended shareholder approval of the 2010 executive compensation in the Proxy

           Statement filed with the SEC on February 25, 2011;

                  6.     In connection with Umpqua’s 2010 executive compensation plan, defendant Davis,

           (Umpqua’s CEO and a member of Umpqua’s Board) would receive an approximate $1.4 million or

           60% increase in compensation over 2009;

                  7.     In connection with Umpqua’s 2010 executive compensation plan, defendant

           Copeland (Umpqua’s COO) would receive an approximate $795,000 or 112% increase in

           compensation over 2009;

                  8.     In connection with Umpqua’s 2010 executive compensation plan, defendant

           Farnsworth (Umpqua’s CFO) would receive an approximate $514,000 or 140% increase in

           compensation over 2009;

                  9.     In connection with Umpqua’s 2010 executive compensation plan, defendant Wardlow

           (Umpqua’s Senior Credit Officer) would receive an approximate $553,000 or 161% increase in

           compensation over 2009;

                  10.    In connection with Umpqua’s say-on-pay advisory vote, the Umpqua Board set forth

           all of the material factors that it considered and led it to conclude that increasing CEO and top

           executive pay in 2010 was consistent with Umpqua’s pay-for-performance executive compensation

           policy and, most importantly, in the best interests of Umpqua shareholders;

                  11.    On April 19, 2011, Umpqua conducted its annual shareholder meeting in Portland,

           Oregon, and during that meeting shareholders voted upon the Umpqua Board’s 2010 executive

           compensation in the Company’s first-ever “say-on-pay” advisory vote;



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                  12.     On April 22, 2011, Umpqua reported the final results of the say-on-pay advisory vote

           in a SEC Form 8-K (“8-K”), reporting that 54.5 million shares votes against the Umpqua Board’s

           2010 executive compensation proposal, or approximately 62% of Umpqua shareholders; and

                  13.     Since the adverse Umpqua say-on-pay vote, the Umpqua Board has not publicly

           reported in a filing with the SEC that the 2010 executive compensation has been or will be rescinded

           or otherwise modified.

           III.   ARGUMENT

                  A.      The Complaint’s Allegations Sufficiently Demonstrate Demand
                          Futility

                          1.      The Umpqua Board’s Breach of Its Fiduciary Duty of Loyalty
                                  Strips It of Any Business Judgment Protection, Rendering
                                  Demand Futile

                  Under Oregon law, “[a] complaint in a proceeding brought in the right of a corporation must

           allege with particularity the demand made, if any, to obtain action by the board of directors and

           either that the demand was refused or ignored or why a demand was not made.” Or. Rev. Stat.

           §60.261(2) (2009). However, a pre-suit demand is unnecessary when there is reason to doubt that

           the challenged decision is the product of a valid exercise of business judgment. Crandon, 181 P.3d

           at 783; cf. Aronson, 473 A.2d at 815 (same). It is also axiomatic that to remain eligible for

           protection under the business judgment rule, directors must faithfully discharge their unremitting

           duty of loyalty by always putting the interests of shareholders ahead of their personal interests and

           the interests of corporate managers. See In re Tyson Foods, Inc. Consol. S’holder Litig., No. 1106-

           CC, 2007 Del. Ch. LEXIS 120, at *10-*11 (Del. Ch. Aug. 15, 2007) (“Loyalty. Good faith.

           Independence. Candor. These are words pregnant with obligation. The Supreme Court did not

           adorn them with half-hearted adjectives. Directors should not take a seat at the board table prepared

           to offer only conditional loyalty, tolerable good faith, reasonable disinterest or formalistic
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           candor.”).10 Paraphrasing the words of Judge Benjamin Cardozo, the court in Chiles v. Robertson,

           94 Or. App. 604, 767 P.2d 903 (1989), wrote:

                           “Many forms of conduct permissible in a workaday world for those acting at
                   arm’s length, are forbidden to those bound by fiduciary ties. A [fiduciary] is held to
                   something stricter than the morals of the market place. Not honesty alone, but the
                   punctilio of an honor the most sensitive, is then the standard of behavior. . . .
                   Uncompromising rigidity has been the attitude of courts of equity when petitioned to
                   undermine the rule of undivided loyalty by the ‘disintegrating erosion’ of particular
                   exceptions . . . . Only thus has the level of conduct for fiduciaries been kept at a
                   level higher than that trodden by the crowd.”

           Id. at 619-20 (citing Meinhard v. Salmon, 249 N.Y. 458, 464, 164 N.E. 545, 546 (1928)).

                   Therefore, directors choosing to govern a corporation’s affairs counter to the shareholders’

           best interests – guided instead by the desire to serve themselves and that of corporate management –

           cannot seek refuge from their fiduciary breach in the business judgment rule’s protections.11 In fact,

           Crandon, the very case defendants rely upon throughout their Motion, refused to afford the business

           judgment rule presumption to directors who adopted defensive measures to entrench themselves at

           the expense of shareholders. 219 Or. App. at 35; Defs.’ Mot. at 8-9, 16.

                   Defendants ignore the results of the shareholder vote here and instead wrongly claim that

           there can be no breach of loyalty simply because plaintiffs believe the “Umpqua executives did not


           10
                   See also Klinicki v. Lundgren, 298 Or. 662, 666 n.2, 695 P.2d 906, 910 n.2 (1985) (“‘By
           assuming his office, the corporate director commits allegiance to the enterprise and acknowledges
           that the best interests of the corporation and its shareholders must prevail over any individual interest
           of his own.’”) (quoting The Corporate Director’s Guidebook, 33 Bus. Law. 1591, 1599-1600
           (1978)).
           11
                     See also Pfeiffer v. Toll, 989 A.2d 683, 707 (Del. Ch. 2010) (“The duty of loyalty has
           paramount importance under Delaware law. Delaware’s consistent corporate philosophy has been
           to grant deference to boards in exercising their authority to direct and oversee the business and
           affairs of the corporation, balanced by assiduous protection of the stockholders’ right
           to . . . meaningful enforcement of fiduciary duties, with particular emphasis on the duty of
           loyalty.”).


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           deserve the compensation that the Board awarded them for 2010.” Defs.’ Mot. at 13. In fact, it was

           the vast majority of Umpqua shareholders – over 61% – who believed the executive compensation

           was not in their best interests because it was grossly misaligned from the interests of the Company

           and its shareholder-owners. Of course, this should not surprise defendants because Umpqua’s utter

           failure to perform cannot reasonably justify increases in executive compensation as high as 161%.

           See ¶36 (Umpqua shareholders suffered through a 10% drop in Umpqua’s share price and a negative

           7.7% shareholder return).12

                  Importantly, the 61% of voting Umpqua shareholders was not just some random amalgam of

           stockholders with “axes to grind” against the Umpqua Board and the Company’s top executives. In

           fact, it was just the opposite. Sophisticated institutional investors like those who voted against

           Umpqua’s excessive 2010 compensation, owning tens of millions of Umpqua shares and managing

           more than three trillion in assets combined,13 are well versed in the intricacies of corporate

           governance and making decisions in the best interests of their shareholders, pensioners and

           employees. Indeed, defendants acknowledged this fact when, prior to the April 2011 shareholder

           vote, “Umpqua approached a few dozen institutional investors holding 70% of the company’s stock”

           only to find that 13 of the 20 biggest shareholders planned to vote against the outrageous

           compensation increases proposed by the Umpqua Board. See Downs Decl., Ex. D.

                  Thus, defendants’ false implications that the Complaint’s allegations merely represent the

           opinions of two dissatisfied stockholders are patently false. Defs.’ Mot. at 14, 18-19. By rejecting


           12
                  All paragraph references (“¶_” or “¶¶__”) herein are to the Complaint.
           13
                   For a list of Umpqua’s institutional investors as of both December 31, 2010 and March 31,
           2011, see the 13F Historical Momentum Report printed from Thomson Research, attached as Ex. C
           to the Downs Decl.


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           the Board’s 2010 executive compensation proposal, the “no” vote by the majority of Umpqua

           shareholders reflects the Board’s inability to act in the best interests of shareholders (the Company’s

           true owners). See IBS Fin. Corp. v. Seidman & Assocs., L.L.C., 136 F.3d 940, 949 (3d Cir. 1998)

           (“‘[The shareholder franchise] is critical to the theory that legitimates the exercise of power by some

           (directors and officers) over vast aggregations of property that they do not own.’”) (quoting Blasius

           Indus., Inc. v. Atlas Corp., 564 A.2d 651, 659 (Del. Ch. 1988)).

                  Perhaps even more telling, defendants have not claimed that the April 19, 2011 vote meant

           nothing. How could they – especially when not two months after 61% of their shareholders voted

           against the executive compensation package, defendants announced in a June 2011 8-K that “in

           keeping with our stated and ongoing commitment to take shareholder input seriously, our

           Compensation Committee has taken action to more closely link executive compensation to stock

           price and dividend performance.” Downs Decl., Ex. B. But defendants cannot have it both ways; if

           the vote means enough to cause the Umpqua Board to enact remedial measures to “link executive

           compensation to stock price and dividend performance”; it also means that the vote reflects

           shareholders’ collective belief that the Board’s decision to grant the excessive 2010 compensation

           was not in the Company’s or shareholders’ best interests because the 2010 compensation was not

           linked to performance. Id.

                  Furthermore, the advisory nature of say-on-pay provision under the Dodd-Frank Act is

           irrelevant because the vote itself, and the statements made within the Company’s June 2011 8-K

           (attached as Ex. B to the Downs Decl.), constitute evidence that the decision by the Umpqua Board

           to reward the Company’s CEO and other top executives for a performance that reaped no value for

           shareholders in 2010 (e.g., 10% decline in stock price and -7.7% annual shareholder return) was not

           in the best interests of the Company or its stockholders. The vote also rebuts any presumption of

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           business judgment rule protection for the Board and shifts the burden to defendants to demonstrate

           that their actions were in the shareholders’ best interests. Crandon, 219 Or. App. at 31. Moreover,

           the results of the shareholder vote reflect the well-settled principle that directors do not have carte

           blanche to make executive compensation decisions that are not in the best interests of shareholders.

           See Tyson, 2007 Del. Ch. LEXIS 120, at *10-*11; see also Colvin v. Colvin, No. 05-409-AA, 2007

           U.S. Dist. LEXIS 57213, at *30 (D. Or. Aug. 1, 2007) (“actions taken for own interests rather than

           that of corporation, ‘absent a legitimate business purpose,’ constitute a breach of fiduciary duty”)

           (quoting Noakes v. Schoenborn, 116 Or. App. 464, 472, 841 P.2d 682, 687 (1992)).14

                  Finally, plaintiffs’ allegations do not rely on post-hoc justifications for the unreasonable

           executive pay. Had defendants tailored their Motion to address the Complaint’s actual allegations,

           they would realize that plaintiffs simply allege that the Umpqua Board ignored and contradicted its

           own representations to shareholders (i.e., that compensation would be based on performance and

           designed to maximize shareholder value) when they approved the exorbitant pay raises that enriched

           Umpqua executives despite failing performance. ¶¶3, 32. Thus, while plaintiffs are not so naive to

           expect that defendants write out a full mea culpa, these shareholders do expect (like shareholders of

           any company do) that when directors voluntarily choose to speak, they do so mindful of their duty to



           14
                   Defendants rely on Iwasaki v. Iwasaki Bros., Inc., 58 Or. App. 543, 548, 649 P.2d 598, 601-
           02 (1982), for the proposition that “Oregon law recognize[s] that if the ‘allegedly excessive salary
           seems more a product of business judgment than an attempt to siphon off profits,’ stockholders
           cannot recover on a claim for supposedly improper compensation payments.” Defs.’ Mot. at 13.
           However, in Iwasaki, plaintiffs there offered no evidence that the salary was excessive, either “‘on a
           comparative basis, considering salaries paid to others in the same business for similar work, or on
           any other objective basis.’” Iwasaki, 58 Or. App. at 548. In contrast to Iwasaki, the 2010
           compensation of Umpqua’s top level executives here increased on average over 115% year-over-
           year; astoundingly at a time when the Company, by the most objective measures of shareholder
           value, exhibited poor performance. ¶33.


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           speak the complete, full and unvarnished truth. See, e.g., Freedman v. Louisiana-Pacific Corp., 922

           F. Supp. 377, 387 (D. Or. 1996) (“‘a duty to speak the full truth arises when a defendant undertakes

           a duty to say anything’”) (quoting Rubinstein v. Collins, 20 F.3d 160, 170 (5th Cir. 1994)); Weiss v.

           Swanson, 948 A.2d 433, 455-56 (Del. Ch. 2008).15 As Chancellor Chandler articulated in Tyson:

                  For obvious reasons, a company may wish to be less than entirely detailed about
                  trade secrets or other confidential information. Executive compensation, however, is
                  not a realm in which less than forthright disclosure somehow provides a company
                  with an advantage with respect to competitors. Sophism and guile on this subject
                  does not serve shareholder interests. When directors speak out about their own
                  compensation, or that of company managers, shareholders have a right to the full,
                  unvarnished truth.

           2007 Del. Ch. LEXIS 120, at *13-*14 n.18.

                  Taken as true, these particularized facts rebut the presumption that the Umpqua Board acted

           in the shareholders’ best interests when it approved the 2010 executive compensation. The facts

           alleged in the Complaint also sufficiently demonstrate that: (1) the Umpqua Board breached its duty

           of loyalty by ignoring shareholders’ best interests and increasing 2010 executive pay in violation of

           the terms of its pay-for-performance executive compensation policy; (2) defendants face significant

           likelihood of liability for such breach; and (3) therefore, defendants are not entitled to the business

           judgment presumption at the pleading stage. Weiss, 948 A.2d at 441 (denying motion to dismiss

           where the plaintiff rebutted the presumption that the directors’ executive compensation, i.e., stock

           option grants, was a valid business judgment). Accordingly, defendants’ arguments should be


           15
                   As another example of defendants’ reliance on inapposite case law, in Brown v. Brewer, No.
           CV 06-3731-GHK, 2010 WL 2472182 (C.D. Cal. June 17, 2010) (see Defs.’ Mot. at 22), the case
           had already proceeded to summary judgment and, as a result, both parties had the benefit of
           discovery which, as defendants are well aware, plaintiffs here do not. Furthermore, conspicuously
           omitted from defendants’ citation to Brown is that the court there actually upheld several claims by
           plaintiffs that defendants breached various fiduciary duties. See Brown, 2010 WL 2472182, at *12-
           *19.

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           summarily rejected and their Motion denied. Cf. Orman v. Cullman, 794 A.2d 5, 15 (Del. Ch. 2002)

           (denying motion to dismiss because questions regarding alleged fiduciary breach could not be

           resolved on the pleadings); Belova v. Sharp, No. CV 07-299-MO, 2008 U.S. Dist. LEXIS 19880, at

           *13 (D. Or. Mar. 13, 2008) (refusing to weigh evidence at pleading stage).16

                           2.      Pre-Suit Demand Is Unnecessary Because the Umpqua Board
                                   Is Not Disinterested

                   The court in Crandon held that a pre-suit demand on a company’s board of directors is

           unnecessary when a shareholder plaintiff can sufficiently allege that there is a reason to doubt that a

           majority of the board of directors is disinterested. Crandon, 219 Or. App. at 30. Thus, as courts

           applying both Oregon and Delaware law recognize, when a majority of a board’s directors face a

           substantial likelihood of liability for breaching their fiduciary duty of loyalty, their independence is

           doubtful. See, e.g., In re Columbia Entities Litig., No. 04-11704-REK, 2005 U.S. Dist. LEXIS

           33439, at *22-*23 (D. Mass. Nov. 30, 2005) (stating that “Oregon courts have found that demand is

           futile if ‘the facts alleged show that the defendants charged with the wrongdoing, or some of them,

           constitute a majority of the directors or managing body at the time of commencing the suit . . . .’”);




           16
                   Brehm v. Eisner, 746 A.2d 244 (2000), relied upon heavily by defendants throughout their
           brief (Defs.’ Mot. at 9, 12, 17, 22), actually supports plaintiffs’ argument. As an initial matter, the
           executive compensation at issue in Brehm was never rejected by a majority of shareholders and, in
           fact, was never even subject to a shareholder vote. Even without the probative value of a
           shareholder vote, plaintiffs’ claims survived dismissal and proceeded to summary judgment, and
           eventually to trial. Importantly, in Walt Disney, the court presciently noted that the result might be
           different for a similar present-day pay package approved in “an era that has included the Enron and
           Worldcom debacles, and the resulting legislative focus on corporate governance.” In re Walt Disney
           Co. Derivative Litig., 907 A.2d 693, 697 (Del. Ch. 2005), aff’d, 906 A.2d 27 (Del. 2006). Indeed,
           Chancellor Chandler’s prediction has been borne out by the enactment of the Dodd-Frank Act in the
           face of the 2008 financial crisis.


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           see also Belova, 2008 U.S. Dist. LEXIS 19880, at *28-*31 (finding demand futility met under

           Delaware law).

                   Here, as demonstrated infra, the entire Umpqua Board is prima facie liable for a breach of

           loyalty by approving excessive executive compensation for Umpqua’s CEO and top executives in

           violation of the express terms of the Board’s executive compensation pay-for-performance policy.

           See Columbia, 2005 U.S. Dist. LEXIS 33439, at *22-*23; Belova, 2008 U.S. Dist. LEXIS 19880, at

           *28-*31. The decision by the Delaware Chancery Court in Ryan v. Gifford, 918 A.2d 341 (Del. Ch.

           2007), is instructive. In Ryan, the board of directors approved executive compensation in violation

           of the terms of its stated executive compensation policy and simultaneously made false

           representations to shareholders regarding the compensation. Rejecting the directors’ arguments

           regarding demand futility, the court concluded that because the directors granted the executive stock

           options on terms inconsistent with the company’s executive stock option program (similar to the

           Umpqua Board’s deviation from its own policy to link executive compensation to maximizing

           shareholder value), the Ryan board breached its fiduciary duty of loyalty. Id. at 355-56. The Ryan

           court also found the directors’ misconduct so egregious that it stripped them of the protections

           afforded by the business judgment rule. Id. Specifically, the court stated:

                           A director who approves the backdating of options faces at the very least a
                   substantial likelihood of liability, if only because it is difficult to conceive of a
                   context in which a director may simultaneously lie to his shareholders (regarding his
                   violations of a shareholder-approved plan, no less) and yet satisfy his duty of loyalty.
                   Backdating options qualifies as one of those “rare cases [in which] a transaction may
                   be so egregious on its face that board approval cannot meet the test of business
                   judgment, and a substantial likelihood of director liability therefore exists.”

           Id.17


           17
                 Interestingly, in Lewis, a case cited to by defendants (see Defs.’ Mot. at 17), the court there
           may have said that “executive compensation is a matter ordinarily left to the business judgment of a

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                  Regarding defendants’ mistaken claim that the Complaint only challenges the actions of one

           Board member (Defs.’ Mot. at 11), had they read it more closely, they would have noticed that it

           actually alleges that every member of the Umpqua Board was in breach of his/her fiduciary duty of

           loyalty. ¶¶15-24, 26-29. Thus, all Umpqua directors face liability for approval of the pay increases

           and are unfit to consider pre-suit demand. Defendants’ misplaced reliance on Beam v. Stewart, 845

           A.2d 1040, 1044 (Del. 2004), does nothing to bolster their position. There, the court dismissed

           claims of directors’ interestedness based primarily on their close personal friendship with the

           interested director. Rather than making any claims grounded in interpersonal relationships, the

           Complaint here alleges every member of the Umpqua Board to be interested because, as in Lynch

           and Ryan, each directly engaged in incriminating conduct, i.e., deciding to approve this excessive

           2010 executive compensation despite an utter lack of performance. Even the court in Beam

           expressly found two of the directors interested: (1) the first based on her relation to the underlying

           claims (she was the subject of suit); and (2) the second because her position as an officer and inside

           director and the substantial compensation she received from the company raised a reasonable doubt

           about her ability to objectively consider pre-suit demand. Id.

                  Additionally, Umpqua’s CEO, defendant Davis, is no ordinary interested director. Defendant

           Davis is the recipient of much of the excessive compensation that is the subject of this lawsuit. ¶¶11,

           34. Defendant Davis’s receipt of the excessive compensation at issue here renders him interested in

           the outcome of the litigation and raises a reasonable doubt about his ability to objectively consider a


           company’s board of directors,” but is also noted that in that case “[s]ignificantly, the stock option
           plans at issue and all the amendments made to those plans were approved by the Corporation’s
           shareholders.” Lewis v. Hirsch, No. CIV. A. 12,532, 1994 WL 263551, at *3-*4 (Del. Ch. June 1,
           1994). Thus, even defendants’ own authority acknowledges the important evidentiary value of the
           results of a shareholder vote.


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           pre-suit demand. Beam, 845 A.2d at 1044; Ryan, 918 A.2d at 356 (“Plaintiff alleges that three

           members of a board approved backdated options, and another board member accepted them. These

           are sufficient allegations to raise a reason to doubt the disinterestedness of the current board and

           to suggest that they are incapable of impartially considering demand.”).18 Moreover, as the

           Company’s CEO, he holds substantial influence over the rest of the directors sufficient to raise a

           reasonable doubt as to their independence. See In re infoUSA, Inc. S’holders Litig., 953 A.2d 963,

           984 (Del. Ch. 2007) (excusing demand on nine member board where complaint alleged board

           allowed CEO and major shareholder to enrich selves at the expense of the other shareholders).

                  Nor can Umpqua’s defendant directors hide from liability under a blanket of “exculpatory

           language” contained in Umpqua’s Restated Articles of Incorporation (“Articles”). See Defs.’ Mot. at

           15-16. As the District of Oregon recently noted, a claim of exculpatory provisions may only operate

           as an affirmative defense and cannot serve to dispose of a matter at the pleading stage. Belova, 2008

           U.S. Dist. LEXIS 19880, at *23-*24. In any event, even defendants admit that Umpqua’s Articles

           do not exculpate for breaches of loyalty, acts or omissions not in good faith, intentional misconduct,

           or transactions from which the director derived an improper personal benefit. Defs.’ Mot. at 15; Or.

           Rev. Stat. §60.047(2)(d)(A) (stating that directors cannot be insulated through a corporation’s

           articles from personal liability for breaches of the duty of loyalty). Here, the Complaint alleges that



           18
                   Cf. In re MRV Commc’ns, Inc., No. CV 08-3800 GAF, 2010 U.S. Dist. LEXIS 46946, at *13
           (C.D. Cal. May 10, 2010) (“A number of cases have held that the acceptance of backdated options
           creates reasonable doubt to the disinterestedness of particular directors.”); Conrad v. Blank, 940
           A.2d 28, 38 (Del. Ch. 2007) (“the two directors who allegedly received backdated options . . . are
           clearly not disinterested”); In re Maxim Integrated Prods., 574 F. Supp. 2d 1046, 1060 (N.D. Cal.
           2008) (allegations that specific directors sitting on the Board received backdated options were
           sufficient to create a reasonable doubt as to the disinterestedness of these directors); In re Zoran
           Corp. Derivative Litig., 511 F. Supp. 2d 986, 1003 (N.D. Cal. 2007) (same).


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           the defendant directors agreed to and participated in “a deliberate course of action designed to divert

           corporate assets in breach of [the] fiduciary duty of loyalty owed to Umpqua.” ¶57. It further details

           that defendants committed acts of bad faith, in addition to knowing, willful and intentional

           misconduct for the purposes of favoring the interests of Umpqua’s CEO and top executives at the

           expense of both the Company and shareholders. ¶59. Thus, the “liability raincoat” provisions of

           Umpqua’s Articles provide no quarter for defendants’ disloyal acts regarding Umpqua’s excessive

           2010 compensation. See McPadden v. Sidhu, 964 A.2d 1262, 1274 (Del. Ch. 2008) (holding that a

           breach of loyalty is outside a corporation’s exculpatory charter provision); Zoran, 511 F. Supp. 2d at

           1017 (rejecting defendants’ §102(b)(7) affirmative defense: “If the facts that plaintiff has pled are

           taken as true, the exculpatory provision will give individual defendants no quarter.”).

                   Therefore, because the entire membership of the Umpqua Board faces a substantial

           likelihood of personal liability based on its decision to award undeserved executive compensation

           increases despite the Company’s poor financial performance in 2010, the Complaint sufficiently

           alleges demand futility.

                   B.      Had Defendants Actually Read the Complaint, It Would Be Clear that
                           Plaintiffs Do Not Allege Any Claim of Waste

                   Bereft of any potent response to plaintiffs’ compelling evidence that demand upon the Board

           would have been futile because the entire Umpqua Board breached its duty of loyalty and is not

           entitled to the business judgment presumption, defendants desperately assert that the Complaint fails

           to adequately allege a claim of waste. Defs.’ Mot. at 23. There is only one problem: plaintiffs do

           not assert a waste claim against defendants. The fact that defendants resort to such a blatant attempt

           to divert the Court’s attention from the actual issues involved in this litigation only further highlights

           the strength of the Complaint’s allegations.


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                   Plaintiffs’ claims are simple: 61% of Umpqua’s voting shareholders used their own business

           judgment as sophisticated institutional investors to determine that the Company’s 2010

           compensation increases to Umpqua’s CEO and top executives were excessive and did not comply

           with the Board’s purported pay-for-performance policies. Thus, according to 61% of voting

           Umpqua shareholders, these pay raises were not in the best interests of either Umpqua or its

           stockholder-owners. See IBS, 136 F.3d at 949 (“‘[The shareholder franchise] is critical to the theory

           that legitimates the exercise of power by some (directors and officers) over vast aggregations of

           property that they do not own.’”). Despite defendants’ red-herring argument, plaintiffs do not ask

           this Court to make improper factual determinations of whether the increases in compensation were in

           fact justified. See, e.g., Belova, 2008 U.S. Dist. LEXIS 19880, at *13 (“For purposes of the

           Motions to Dismiss, I need not consider how return analysis may or may not refute backdating – that

           is, I will not weigh the evidence or lack thereof.”); In re Immune Response Sec. Litig., 375 F. Supp.

           2d 983, 995 (S.D. Cal. 2005) (“‘Court[s] should not . . . generate an evidentiary record and then

           weigh evidence . . . to dismiss [a] complaint.’”). Instead, plaintiffs argue that the facts, taken as true,

           provide compelling evidence demonstrating that defendants breached their duty of loyalty by acting

           in a manner inconsistent with the best interests of Umpqua’s shareholders – stripping them of any

           protection under the business judgment rule and, therefore, rendering futile any pre-suit demand on

           the Board. Crandon, 219 Or. App. at 30-35.19


           19
                    With no claim for waste to respond to, defendants’ reliance on Highland Legacy Ltd. v.
           Singer, No. Civ.A. 1566-N, 2006 WL 741939 (Del. Ch. Mar. 17, 2006), and related authorities
           serves no purpose but to improperly distract the Court’s attention from the well-pled and
           particularized allegations supporting plaintiffs’ breach of fiduciary duty claims here. See Acadia
           Brandywine Town Ctr., LLC v. Cresswell, No. 09C-08-166 PLA, 2010 WL 629842, at *2 (Del.
           Super. Feb. 17, 2010) (proclaiming that a motion which misstates the record does “nothing to move
           this litigation toward resolution and has been wasteful of the Court’s and counsel’s time”).

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                  C.      The Complaint States Actionable Claims of Unjust Enrichment

                  Contrary to defendants’ arguments here, the Complaint also adequately alleges unjust

           enrichment against defendants Davis, Copeland, Farnsworth, and Wardlow. Oregon courts define

           “unjust enrichment” broadly so as to include situations involving “the acquisition or retention of

           property in a way that is in some sense wrongful or . . . ‘unconscientious.’” Tupper v. Roan, 349 Or.

           211, 220, 243 P.3d 50, 57 (2010). To state a claim for unjust enrichment, plaintiffs must allege: (1)

           that a property or property interest that belongs to them was taken or obtained by someone else under

           circumstances that were in some sense wrongful or inequitable; (2) that the person who possesses the

           property is not the bona fide purchaser for value and without notice; and (3) clear evidence that the

           property in the hands of the defendant rightfully belongs to them. Id. at 223.20 As the Oregon

           Supreme Court explained in State Const. Corp. v. Scoggins:

                           “One is said to be unjustly enriched when he has received that which ‘ex
                  aequo et bono,’ ‘in equity and good conscience,’ ‘upon principles of natural justice,’
                  etc., he ought not to retain.’ . . .

                         To the jurist unjust enrichment is not a moral or ethical notion, but a legal one
                  with an economic justification. The protection of property and its enjoyment is a
                  primary obligation of every civilized state.”

           259 Or. 371, 390, 485 P.2d 391, 399 (1971).

                  Ironically, defendants themselves bootstrap the contention that the payment of excessive

           compensation did not unjustly enrich Umpqua’s CEO and top executives because such behavior did


           20
                   Defendants cite this and another formulation for unjust enrichment by the court in Winters v.
           Cnty. of Clatsop, 210 Or. App. 417, 150 P.3d 1104 (2007), namely that plaintiffs must allege that (1)
           they conferred a benefit on defendants; (2) defendants were aware that they had received a benefit;
           and (3) under the circumstances it would be unjust for defendants to retain the benefit without
           paying for it. Defs.’ Mot. at 24-25. While Oregon courts provide various tests for unjust
           enrichment, all condition restitution on alleging an inequitable taking like the excessive
           compensation alleged in the Complaint here. See Tupper, 349 Or. at 222-23.

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           not constitute any fiduciary breach. Defs.’ Mot. at 24. Thus, defendants’ arguments regarding

           allegations of unjust enrichment must fail for the same reasons their other specious arguments do.

           Belova, 2008 U.S. Dist. LEXIS 19880, at *25-*26 (“Because this argument [for dismissing an unjust

           enrichment claim] relies on me dismissing the other claims, it fails.”). Oregon courts long hold that

           the breach of fiduciary duty may constitute a “wrongful circumstance” ipso facto for the purposes of

           alleging unjust enrichment. See Tupper, 349 Or. at 223; Albino v. Albino, 279 Or. 537, 550, 568

           P.2d 1344, 1351 (1977) (holding that a constructive trust arises wherever a fiduciary acquires or

           retains property in violation of a duty impressed upon him by that relation, even in the absence of

           fraud).

                     Additionally, simply because the Executive Defendants claim that they “performed services

           for the company” (Defs.’ Mot. at 24) does not qualify them as “bona fide recipients” of unjustified

           compensation and require the dismissal of plaintiffs’ unjust enrichment claim. Where compensation

           results from the breach of a fiduciary duty, an executive cannot use the mere fact of her employment

           to justify an otherwise wrongful taking from the company; to hold otherwise would defeat the

           equitable principles underlying a claim for unjust enrichment, and courts have not hesitated to allow

           an unjust enrichment claim against employees that have provided substantial services to their

           employer. See, e.g., Belova, 2008 U.S. Dist. LEXIS 19880, at *25-*26 (refusing to dismiss unjust

           enrichment claim against company employees who engaged in options backdating).21




           21
                   Defendants concede that the third element necessary to allege an unjust enrichment claim,
           namely that the payment, if shown to be wrongfully appropriated, rightfully belongs to the
           corporation. Moreover, defendants’ reliance on Iwasaki (Defs.’ Mot. at 25), a case not involving an
           unjust enrichment claim, is both factually and legally inapposite.


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                   Here, plaintiffs properly plead unjust enrichment by alleging that, as a result of the Umpqua

           Board’s approval of the excessive 2010 executive compensation plan, Umpqua’s CEO and top

           executives unjustly received excessive compensation at the expense of the Company and its

           shareholders alike. ¶¶68-69. Umpqua suffered a loss by paying out undeserved executive

           compensation packages to executives whose stewardship resulted in a 10% decline in the stock price

           and an annual shareholder return of negligible 7.7%. Thus, the Board’s decision to award such

           compensation constituted a breach of fiduciary duty, thereby eliminating any protection they

           otherwise would have had under the business judgment rule. ¶¶56-60. These facts are sufficient at

           this stage of the litigation to support a claim for unjust enrichment. See Jackson Nat’l Life Ins. Co. v.

           Kennedy, 741 A.2d 377, 394 (Del. Ch. 1999) (stating that once the facts alleged were sufficient to

           allege a breach of fiduciary duty, “it [was] axiomatic” that plaintiffs had also sufficiently pleaded a

           claim for unjust enrichment); Weiss, 948 A.2d at 443-44 (finding specific facts as to the alleged

           timing of option grants given to defendants unnecessary at the motion to dismiss stage).

                   Moreover, restitution is permitted regardless of whether the defendant retaining the benefit is

           a wrongdoer or had a role in approving the 2010 executive compensation. Tupper, 349 Or. at 221

           (“[R]emedy [for unjust enrichment] is not limited to property that remains in the hands of the party

           who was directly involved in the wrongful divestment or retention.”); Ryan, 918 A.2d at 361. In

           Ryan, as here, defendants challenged the validity of the plaintiffs’ unjust enrichment claim arising

           from a stock option backdating executive compensation scheme at Maxim. In rejecting defendants’

           arguments, the Ryan court held:

                 Even if [defendant] fails to exercise a single option during the course of this
                 litigation, that fact would not justify dismissal of the unjust enrichment claim.
                 Whether or not the options are exercised, the Court will be able to fashion a
                 remedy. . . . Either way, [defendant’s] alleged failure to exercise the options up to
                 this point does not undermine a claim for unjust enrichment. Thus, I deny the motion
                 to dismiss the unjust enrichment claim.
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           918 A.2d at 361. Similarly, this Court should deny defendants’ Motion on grounds for failure to

           plead a claim of unjust enrichment.

           IV.     CONCLUSION

                   Accordingly, defendants’ Motion should be denied in its entirety. Alternatively, plaintiffs

           should be granted leave to amend. Carvalho v. Equifax Info. Servs., LLC, 615 F.3d 1217, 1232 (9th

           Cir. 2010) (“Under Federal Rule of Civil Procedure 15(a), leave to amend shall be freely given when

           justice so requires.”).

           DATED: July 27, 2011                            Respectfully submitted,

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                                             CERTIFICATE OF SERVICE

                  I hereby certify that on July 27, 2011, I authorized the electronic filing of the foregoing with

           the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

           e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

           caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

           CM/ECF participants indicated on the attached Manual Notice List.

                  I certify under penalty of perjury under the laws of the United States of America that the

           foregoing is true and correct. Executed on July 27, 2011.


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